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             EXHIBIT A
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                                                                                                 US010360567B2

(12) Bergdale
     United et States
               al.
                      Patent                                              (10) Patent No.: US 10 , 360, 567 B2
                                                                          (45) Date of Patent:                           Jul. 23 , 2019
(54 ) METHOD AND SYSTEM FOR                                                                      G06Q 30 /0248 (2013.01); G07B 15 /00
      DISTRIBUTING ELECTRONIC TICKETS                                                         ( 2013 .01) ; G06Q 30 /0241 ( 2013 .01 )
      WITH DATA INTEGRITY CHECKING                                   (58 ) Field of Classification Search
                                                                           CPC ...... ..... G06Q 20 /0457; G06Q 30 /0185 ; G06Q
(71 ) Applicant: Bytemark , Inc., New York, NY (US)                                          20 /322 ; G06Q 20 / 3274; G06Q 10 /02 ;
                                                                                                 G06Q 30 /0241; G06Q 30 /0248 ; G07B
(72) Inventors: Micah Bergdale , New York , NY (US) ;                                                                               15 /00
                Matthew Grasser , New York , NY                             USPC ...                                 .... 705/14.47, 14.64
                (US ); Kevin Rejko , New York , NY                         See application file for complete search history .
                 (US ); Nicholas Ihm , New York , NY
                (US )                                                (56 )               References Cited
(73 ) Assignee: BYTEMARK , INC .                                                        U . S . PATENT DOCUMENTS
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( * ) Notice:    Subject to any disclaimer, the term of this               5 ,253 , 166 A         10 / 1993 Dettelbach
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(22 ) Filed : May 23 , 2014                                          EP                      1439495 A1 7 /2004
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(65)                 Prior Publication Data                                                          (Continued )
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(63 ) Continuation -in -part of application No. 13 / 110, 709,       tication ,” area, pp . 578 -583, 2009 International Conference on
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       filed on Mar. 11 , 2011, now Pat. No . 10 , 089 , 606 , and
                          (Continued )                               Primary Examiner — Luis A Brown
                                                                     (74 ) Attorney, Agent, or Firm — Jennifer Meredith , Esq.;
(51) Int. Ci.                                                        Meredith Attorneys, PLLC
      G060 30 / 00              ( 2012 . 01)
      G060 10 /02                ( 2012 .01                           (57 )                       ABSTRACT
      606Q 30 /02               ( 2012 .01)                           This invention discloses a novel system and method for
      G06Q 20 /04             (2012 .01 )                             distributing electronic ticketing to mobile devices such that
                        (Continued )                                 the ticket stored on the device is checked for its integrity
(52) U .S . CI.                                                       from tampering and the device periodically reports on ticket
     CPC ........ G06Q 30/0185 (2013.01); G06Q 10/ 02                usage with a central server .
                (2013.01 ); G06Q 20/0457 (2013 .01); G06Q
              20 /322 (2013.01); G06Q 20 /3274 (2013.01);                              16 Claims, 22 Drawing Sheets




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                                   Figure 2
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                                   Figure 4
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                                      Figure 5
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                                         Figure 6
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                                     Figure 7
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                                                   Device Gen ratesUnique Code From Server
                                          Sel er Cho se Ticket andSetsPrice
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                                 Figure 9
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                                   Figure 10
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           www




                                   Figure 11
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                                                           Figure 12
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                                                       Figure 13
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                  ?




                                      Figure 14
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                                   Figure 15
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                                   Figure 16
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                                              X




                                                      Figure 17
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                     W




                 w
                 w   W
                                         Figure 18
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                                             Figure 19
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                                   Figure 20
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                Cloud                         eo ? Detaush
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                 This iPhone 4S Device
                                                Save to clone




                                  Figure 21
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                   ?????????????



                 Run Data Integrity Check on Device



                                                 Anomaly
                                                Detected ?            on Exit


                                  Erase Disposable and
                            Temporary Data on Device


                                                                              N
                                                  Server
                                                Connection
                                                Detected ?



                           Transmit Fraud Data Message

                 Receive Fraud Data Message at Server

                       Select User Account Data Record


                  Mun Activate User Account Fraud Bit
                  ???????????????????????????




                             Select User Account Passes

                             Deactivate Selected Passes


                                                Figure 22
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             METHOD AND SYSTEM FOR                                        FIG 17 . Choose Ticket Save Location
         DISTRIBUTING ELECTRONIC TICKETS                                  FIG 18 . Details on Save Locations
          WITH DATA INTEGRITY CHECKING                                    FIG 19 . Online Tickets List
                                                                          FIG 20 . Offline Tickets List
   This patent application claims priority to and incorporates 5          FIG 21 . Ticket Save Location Settings
by reference provisional application U .S . Pat. App . No.                FIG 22 . Data Integrity Flow Chart
61 /826 ,850 filed on May 23 , 2013. This patent application                      DETAILED DESCRIPTION OF THE
claims priority to as a continuation in part and incorporates
by reference : U . S . patent application Ser. No . 13 / 110 ,709                    PREFERRED EMBODIMENTS
 filed on May 18 , 2011 , U .S . patent application Ser. No. 10
13 /046 ,413 filed on Mar . 11 , 2011 and U .S . patent applica           The system operates on one or more computers , typically
tion Ser. No . 13 / 901, 243 filed on May 23 , 2013 .                  one or more file servers connected to the Internet and also on
                                                                       a customer 's computing device . A customer 's device can be
                  FIELD OF INVENTION                                   a personal computer, mobile phone, mobile handheld device
                                                                    15 like a BlackberryTM or iPhoneTM or any other kind of
   This invention provides a mechanism whereby a venue or               computing device a user can use to send and receive data
other facility that meters usage by means of tickets can               messages. The customer's device is used to display the
distribute tickets electronically and rely on data integrity           validating visual object.
checking to confirm that a person holds a valid ticket .                 Conventional electronic tickets display a barcode or QR
                                                                    20 code on a user's telephone, typically a cellphone or other
                       BACKGROUND                                 portable wireless device with a display screen . The problem
                                                                  with this approach is that a barcode scanner has to be used
     Venues such as theaters, amusement parks and other by the ticket taker. Barcode scanners are not highly com
facilities that use tickets , for example airlines, ferries and patible with LCD screen displays of barcodes . The amount
other transportation have a need to use electronic ticketing . 25 of time that it takes to process an electronic ticket is greater
Existing systems distribute information that can constitute a     than that of a paper ticket. Sometimes the LCD display does
ticket, but the verification problem is difficult . In one not scan at all and a passenger has to be sent away to get a
example of prior art, an electronic ticket is displayed as a paper printout of a ticket. Given the potential large crowds
bar - code on the recipient 's telephone display screen . The     that often attend open venues , this is impractical.
telephone is then placed on a scanner that reads the bar-code 30 In this invention , the ticket is procured electronically and
in order to verify the ticket. The problem with these systems stored on the user ' s device . However, when the ticket is to
 is that the scanning process is fraughtwith error and the time be taken the verification is determined by a larger visual
taken to verify the electronic ticket far exceeds that of the     object that a human can perceive without a machine scan
old system : looking at the paper ticket and tearing it in half. ning it. The particular validating visual object chosen can be
Barcode scanners were not designed to read a lit LCD screen 35 constantly changed so that the ticket taker does not have to
displaying a bar code. The reflectivity of the screen can be concerned that a device displaying the designated vali
defeat the scanning process . Therefore, there is a need for an dating visual object is invalid . There are many types of
electronic ticketing system that provides a human - perceiv -   visual objects that can be displayed that are easily recog
able visual display that the venue can rely on to verify the nized by a ticket taker. These can include but are not limited
ticket . This invention provides for the distribution of an 40 to : Patterns of color change, Animations and Geometric
electronic ticket that also contains a visual display that ticket      patterns . In one embodiment, the validating visual object
takers can rely on as verification , without using a scanning          that is transmitted can be computer code , that when executed
device .                                                               by the device, causes the user device to display the desired
                                                                       visual pattern . In another embodiment, the validating visual
             DESCRIPTION OF THE FIGURES                             45 object is a command that specifies what the visual pattern
                                                                       should be. In that embodiment, the program operating on the
   FIG 1 . Basic architecture .                                        user ' s device receives the command instruction , decodes it,
   FIG 2 . Flow chart for ticket purchase .                            and determines what visual patterns to generate based on the
   FIG 3. Flow chart for displaying the verifying visual               data in the command instruction . In another embodiment,
object.                                                             50 the validating visual object is video or image data transmit
   FIG 4 . Example validating visual object .                          ted directly from the server to the device for immediate
   FIG 5 . Example validating visual object                            display.
   FIG 6 . Schematic of event database record .                           In one embodiment of the invention , the user purchases a
   FIG 7 . Schematic of authorized user database record .              ticket from an on -line website . The website sends to the
   FIG 8 . Flow chart for transfer of ticket.                       55 user 's device a unique number, referred to as a token . The
   FIG 9 . Example user interface on user's device .                   token is also stored in the ticketing database . When the time
   FIG 10 . Example user interface showing activation selec             comes to present the ticket, the venue can select what visual
tion screen .                                                          indicator will be used as the designated validation visual
   FIG 11 . Example user interface showing display of vali -           object. The user can then request the validation visual object .
dating visual object and other ticketing information .              60 The user ' s device will have an application that launches a
   FIG 12 . Flowchart for ticket activation process .                  user interface . The user can select " validate ” or some other
   FIG 13 . Protocol diagram for activation process.                   equivalent command to cause the application to fetch and
   FIG 14 . Continued protocol diagram for activation pro              download from the ticketing system a data object referred to
cess .                                                                 herein as a ticket payload , which includes a program to run
   FIG 15 . Flowchart for persistent channel .                      65 on the user 's device . In another embodiment, the ticket
   FIG 16 . Flowchart for persistent channel for purchase               payload can be pushed to the device by the venue . As a
verification .                                                         result, the application transmitted to the user 's device is
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previously unknown to the user and not resident in the user ' s         validating visual object is transmitted to a device viewable
device . At that point the user 's device can execute the               by ticket taking staff at the entrances to the venue . The staff
program embodied in the ticket payload , which causes the               then can see the authorized object to accept for the upcoming
validation visual object to be displayed on the user 's device . show .
The ticket taker knows what the validating visual object is, 5 Ticket holders that have purchased tickets have a data
and simply looks to see that the user ' s device is displaying          record in the system database that contains the unique token
the correct visual object .                                             associated with the ticket and other relevant information ,
  Piracy is limited in several ways . First, the ticket holder          including the venueID and an identifier identifying the
and their device does not have access to the validating visual          specific show the ticket is for. See FIG . 6 . At the entrance ,
object until a time select to be close to the point in time 10 customers are requested to operate an application on their
where the ticket has to be presented . Second, the validating           devices. This application fetches the stored ticket token and
visual object is one of an very large number of permutations            transmits that token to the system , preferably over a secure
and therefore cannot be guessed , selected or copied ahead of           data channel. The database looks up the token to check that
time. Third , the ticket payload can contain code that destroys         the token is valid for the upcoming show . If the token is
the validating visual object in a pre -determined period of 15 valid , then the system transmits back to the device a ticket
time after initial display or upon some pre - determined input          payload . The ticket payload contains computer code that,
event. Fourth , a number of security protocols can be utilized          when operated , displays the selected validating visual
to ensure that a copy of the application that executes to               object.
display the validating visual object cannot be readily copied              The customer can navigate the user interface of the
or reverse engineered .                                              20 application in order to cause the application to request
Validating Visual Object Displays:                                      whether to display the validating visual object. As shown in
   There many kinds of validation displays that can be                  FIG . 9 , one or more available tickets can be displayed on the
utilized . The criterion for what constitutes a validating visual       user interface , which provides the user the ability to select
object is one that is readily recognizable from human                   one of the tickets. When the customer properly actuates the
observation , is encapsulated in such a way as to be trans- 25 user interface, for example , by actuating the “ Activate
mitted to the customer ' s device with a minimum of network     Tickets " button ( see FIG . 10 ) , the validating visual object is
latency or download time, and that can be reasonably                    displayed on the screen of the device . The animation can be
secured so as to avoid piracy .                                         presented along with other ticketing information (see FIG .
Barcodes and similar codes like the QR code are not                     11). In one embodiment, the device transmits the ticket
validating visual objects because a person looking at them 30 token to the system with a command indicating that the
cannot tell one apart from another. Instead , the person has to         ticket has been used. In another embodiment, the customer
rely on a barcode scanner and computing device to verify the can operate the application and request that the application
barcode.                                                          transmit to the database the condition that the ticket was
    In one embodiment, the period that a particular validating used . In that embodiment, the user can input a numeric code
visual object may be used is automatically limited . 35 or password that the application uses to verify that the
Examples of validating visual objects include:                    customer is confirming use of the ticket. In yet another
1. A color display on the device .                                embodiment, after the validating visual object has been
2 . A color sequence .                                            launched , a predetermined amount of time later it can be
3 . An animation that is easily recognized .                      deemed used . At that time, the application can cause the
4 . Animations can include easily recognizable geometric 40 color of the object to be changed so that it indicates that there
    patterns, for example an array of diamonds, or an array of was a valid ticket , but the ticket was used . This condition is
    rotating cubes .                                              useful in cases where the venue checks tickets during shows
5 . A human recognizable image.                                   while letting customers move around the venue ' s facilities.
6 . The customer 's face as an image .                               In another embodiment, the purchase of the ticket causes
7 . Combinations of the above .                                45 the ticket payload to be downloaded to the customer ' s
    In another embodiment , other images , for example , block    device . Likewise , the authorized user for the venue will
letter, can be displayed so that additional information readily select a validating visual object for a particular show well in
apparent to the ticket taker is displayed . For example , a letter      advance of the show . In this case , because a customer may
can be designated for a Child ticket or a different letter for          possess the payload some time before its use , precautions
an Adult ticket.                                                     50 must be taken to secure the ticket payload from being hacked
     Referring now to FIG . 1 , the customer uses their deviceso that any similar device can display the validating visual
( 1 ) to purchase a ticket from the service operating the system
                                                              object. While this is a security tradeoff , the benefit is that the
server ( 2 ) and database (3 ).                               customer need not have an Internet connection at a time
   In one embodiment, an authorized user associated with      close to the showtime of the venue .
the venue , typically the box office manager, logs into the 55 The use of electronic ticketing provides opportunities that
back -end system through a secure web - page . The authorized change how tickets can be bought and sold . For example a
user can enter the web -page by entering a username, pass -             first customer can purchase a ticket and receive on their
word and venue identifier. The system maintains a database              device a ticket token . A second customer can purchase that
( 3 ) that associates the venue identifier with a set of user -         ticket using the system . The first customer can use the
names and password pairs that are authorized to use the 60 application to send a message to the system server indicating
system on behalf of the venue. See FIG . 7 . The system                 that the first customer intends to the web -page indicating
checks the database (3 ) to verify that the venue ID , username         that it wants to buy that particular ticket. The system can ask
and password are consistent with each other. The authorized             the first customer for a username and password to be
user can navigate through to a point in the system user                 associated with the first customer 's ticket. If the second
interface where a particular show may be selected for ticket 65 customer identifies the first customer ' s username, the system
taking. The user selects the upcoming show , and then selects   then can match the two together. At that point, the data
from a display of possible validating visual objects . The              record associated with the first customer's ticket is modified
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so that the ticket token value is changed to a new value . That        with a ticket token . The animation code comprising the
new ticket token value is then transmitted to the second               ticket payload is designed so that it has to obtain the correct
customer' s device . At the same time, the system can operate          IMEI number at run time. In another embodiment , at run
a typical on - line payment and credit system that secures             time, the animation code will read the particular ticket token
payment from the second customer and credits the first 5 specific for the phone that instance of the animation was
customer. In one embodiment, the system pays the first                 transmitted to . The code will then decode the token and
customer a discounted amount, retaining the balance as a               check that it reflects the correct IMEI number for that
fee .                                                                  device.
   In yet another embodiment, the first customer may be                   In another embodiment, the security protocol first requires
unknown to the second customer. In that embodiment, the 10 the user to login to the server with a login username and
first customer simply may indicate to the system , through a password . The application also transmits the IMEI,UDID or
message transmitted from the application operating on the              serial number of the device or any combination of them .
device or directly through a web -page , that the first customer       When verified by the server, an authorization key ( Authkey )
is not going to use the ticket and wishes to sell it. At that          is transmitted to the device . The Authkey is a random
point, the system can mark the data record associated with 15 number. When the user ' s application transmits a request for
the ticket as " available for sale .” When the second customer a validating visual object, it transmits the Authkey and the
makes a request to purchase a ticket for the same show , the           IMEI, UDID or serial number (or combination ) that is used
system creates a new ticket token for the second customer              for verification . This is checked by the server for validity in
and updates the ticket token stored in the data record .               the database . On verification , the validating visual object is
   In a general admission type of scenario , the ticketing 20 encrypted using the Authkey and transmitted to the device .
database is simple : each show has a venue ID , some iden -   The application running on the device then uses the Authkey
tifier associated with the show itself, various time indicators,       to decrypt and display the validating visual object. The
the selected validating visual object, and a list of valid ticket      Authkey is a one-time key. It is used once for each ticket
tokens . In a reserved seating arrangement, the ticketing              payload . If a user buys a second ticket from the system , a
database has a data record associated with a show , as 25 different, second Authkey is associated with that second
indicated by a show identifier , but each seat has a data record ticket payload . In one embodiment, the Authkey is unique to
that has a unique show identifier and ticket token , which             the ticket for a given event. In another embodiment, the
includes the identity of the seat itself .                             Authkey is unique to the ticket , device and the event. In
   In the preferred embodiment, the validating visual object           other embodiments , the Authkey can be replaced with a
is secured against tampering . One threat model is that a 30 key -pair in an assymetric encryption system . In that case , the
customer who has received a ticket payload would then take             validating visual object is encrypted with a " public " key, and
the data file comprising the ticket payload and analyze it to          then each user is issued a private key as the “ Authkey ” to be
detect the actual program code that when executed , produces           used to decrypt the object.
the validating visual object on the display screen of the                 In yet another embodiment, the Authkey can be encrypted
device . Once that has been accomplished , the would - be 35 on the server and transmitted to the device in encrypted
pirate can then re - package the code without any security   form . Only when the application is operating can the Auth
mechanism and readily distribute it to other device owners ,           key be decrypted with the appropriate key. In yet another
or even cross - compile it to execute on other types of display        embodiment, the application that displays the validating
devices. The preferred embodiment addresses this threat                visual object can request a PIN number or some other login
model in a number of ways .                                         40 password from the user, such that if the device is lost, the
   First, the ticket payload can be secured in a region of the         tickets cannot be used by someone who finds the device .
device under the control of the telecommunications pro -                  In another embodiment, the application running on the
vider. In this case , the customer cannot access the code              device can fetch a dynamic script, meaning a piece of code
comprising the ticket payload . In another embodiment, the             that has instructions arranged in a different order for subsets
ticket payload can be encrypted in such a way that the only 45 of devices that request it . The ticket payload is then modified
decrypting key available is in the secure portion of the    so as to have the same number of versions that are compat
telecommunications device . In that embodiment, the key is ible with a corresponding variation in the dynamic script. As
only delivered when an application running on the secure               a result, it is difficult to reverse engineer the application
part of the device confirms that the ticket payload that is            because the application will be altered at run time and the
executing has not been tampered with , for example , by 50 ticket payload customized for that alteration . One embodi
checking the checksum of its run - time image . At that point,        ment of the dynamic script would be expressed in JavaTM
the key can be delivered to the ticket payload process so that        computer language and rendered using Open View . The
the validating visual object is displayed on the device .         ticket payload can be an HTML file called using Ajax .
   Second , the selected animation is packaged for each              Security can also be enhanced by actively destroying the
device . That is , the code that operates to display the vali- 55 validating visual object so that it resides in the device for a
dating visual object itself operates certain security protocols. limited time. In one embodiment, the ticket payload has a
The phone transmits a ticket transaction request. The request          time to kill parameter that provides the application with a
includes a numeric value unique to the device, for example ,           count-down time to destroy the validating visual object . In
an IMEI number. Other embodiments use the UDID or                      another embodiment, the validating visual object is dis
hardware serial number of the device instead of or in 60 played when the user holds down a literal or virtual button
combination with the IMEI number. The system server then on the user interface of the device . When the button is
generates the ticket token using the IMEI number and released , the application destroys the validating visual
transmits that value to that device . In addition , the ticket object.
payload is created such that it expects to read the correct      Security can also be enhanced by retaining as stegano
IMEI number. This is accomplished by the system server 65 graphic data embedded in the validating visual object, the
changing portions of the ticket payload so that the it is      IMEI, UDID , Serial number or phone number of the device .
customized for each individual IMEI number associated The application can be operated to recover that information
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and display it on the screen . This makes it possible for            activate the ticket using a differentmobile computing device
security personnel at a venue to view that information from          if the predetermined time locking the activation has expired ,
a validly operating device . If the device is showing a pirated      that is, if the data record associated with the ticket has been
validating visual object, then the actual data associated with       automatically reset into an deactivated state . The activation
the device will not match and it will be apparent from 5 process also permits a user account to be shared within a
inspection of the device . This way, suspicious ticket holders family , for instance , but that each ticket sold to that account
can be subject to increased scrutiny, the presence of which    to be locked to one device .
deters piracy.                                                          As depicted in the protocol diagrams FIGS. 13a and 13b ,
   In another embodiment, the ticket payload can operate a           the user can use their mobile computing device to request
sound sampling application that requests the customer to 10 that their ticket get activated for the first time. However,
speak in to the device . The application can then use that data      once that activation process has occurred , the server will
to check whether the voice print of the speaker matches the          store the unique token received from the activating user 's
expected voice print . In yet another embodiment, the device         computing device in the database in a manner that associates
can take a picture of the customer 's face , and then facial   it with the ticket and the user 's account. If another user
recognition code embedded in the ticket payload can operate 15 associated with the account attempts to use the ticket by
to check whether the features of the face sufficiently match   activating it, a different random token will be transmitted to
a pre -determined set of features, that is, of the customer 's       the server. Because these two tokens do not match , the
face at the time the ticket was purchased . In yet another           second activation will be prohibited .
embodiment, the verification can be supplemented by being               The activation process can also permit a ticket to be
sure that the use of the ticket is during a pre -determined 20 shared . In this embodiment , the user who has activated the
period of time. In yet another embodiment, the verification          ticket can submit to the server a request that the ticket be
can be supplemented by the ticket payload operating to               transferred to another user. For example , a data message can
check that the location of the venue where the ticket is being be transmitted from the user 's device to the system that
used is within a pre - determined range of tolerance to a GPS  embodies a request to move the ticket to another user. In that
(Global Positioning System ) location . In yet another 25 case , the stored token is marked as blocked , or is equiva
embodiment, after a certain pre - determined number of               lently considered not present. This is accomplished by
downloads of ticket payloads for a specific show , the vali-         storing a data flag in the database that corresponds to the
dating visual object is automatically changed . This last            ticket. One logic state encodes normal use and the opposite
mechanism may be used for promotions, to select the first set        logic state encodes that the ticket has been shared . A data
of ticket buyers for special treatment at the venue. In yet 30 message may be transmitted to the second user indicating
another embodiment, two different validating visual objects          that the ticket is available for activation . The second user
may be used , which are selected based on the verified age of        may submit a request to activate the ticket and a random
the customer . In this way, a venue can use the system to not        token value is transmitted from the second user 's device to
only to verify ticket holders coming into the venue, but to      the server. That second token value is checked to see if it ' s
verify their drinking age when alcoholic drinks are ordered . 35 the first activation . Because the first user has activated the
   In yet another embodiment, the system 's servers control          ticket, but then transferred it, the activation by the second
the ticket activation process . FIG . 12 . In this embodiment,       user is not blocked . That is, the server detects that the first
the token is generated randomly by the user ' s mobile              token is now cancelled or equivalently , the system has
computing device and then transmitted to and stored on the          returned to the state where the first activation has not
system server as a result of the user' s request to activate the 40 occurred and therefore permits the new activation to take
ticket. When the server receives a request to activate a ticket,     place . The new activation can also have a predetermined
the server checks whether there is already an activation             time to live value stored in the database that is associated
token stored in its database that corresponds to that ticket.        with it. In this case, the activation by the second user expires
The token is stored in a data record associated with the user        and the second user can be prevented from reactivating the
that is activating the ticket. The user logs into the account 45 ticket. At the same time, the flag setting that disables the first
and then requests that a ticket be activated . If it is, then it     token can be reset, thereby setting the ticket up for reacti
checks whether the token received from the user 's mobile            vation by the first user. By this mechanism , it is possible for
device matches the stored token . That is , it authenticates         the electronic ticket to be lent from one user to another .
against that stored token . If the user ' s request for activation     In yet another embodiment, the ticket activation process
is the first activation of the ticket, then the server stores the 50 can open a persistent connection channel over the data
received token into the data record associated with the user ' s     network that links the server and the user' s mobile comput
account and keeps it there for a predetermined period of             ing device . In this embodiment, if the activation of the ticket
time, in order to lock the ticket to that device for that period     and therefore the device is successful, the server can main
of time. This process locks a ticket to that unique token for   tain a persistent data channel with a computer process
that lock period . Typically this will lock the ticket to the 55 running on the user 's computing device . In this embodiment,
user ' s mobile computing device . If the stored token does not      the request for ticket activation causes the user computer
match the token received from the user' s computing device ,         device to open the persistent channel. In this embodiment,
the ticket activation is denied .                                    the server establishes a communication process operating on
   The predetermined lock time permits a reusable ticket to          the server that receives data and then causes that data to be
be locked to a device for the predetermined lock time. This 60 automatically routed to the user' s computing device . The
is useful in the event the user changes the mobile computing         process on the user ' s mobile computing device can thereby
device that the user uses to the ticket. For example , a             automatically respond to that received data . In tandem , the
monthly train commuting ticket would be activated once               computer process operating on the users computing device
each day, and would remain activated for the day of its              can send data directly to the server process associated with
activation . In this case , the user would validate the ticket 65 that user ' s session . For a server servicing many user devices,
once each day , and that activation would be locked to the           there will be one persistent channel established between the
device for the day. The next day, the user would be able to          server and each mobile device that has an activated ticket.
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  The persistent channel between the server and the user's          persistent channel or a number uniquely mapped on the
computer device can be used in a variety of ways. In the            server to identify the channel can be embedded in that
preferred embodiment, the persistent connection is designed         scanned object.
so that that it maintains a bi- directional, full-duplex com           In one embodiment, as shown on FIG . 15 , a merchant can
munications channel over a single TCP connection . The 5 use a point of sale system operated by the merchant to scan
protocol provides a standardized way for the server to send         the display screen of the user ' s computing device . That point
content to the process operating on the user ' s computing          of sale system can then capture from the scanned image the
device without being solicited by the user ' s device each time     channel name or a unique number that is uniquely mapped
for that information , and allowing for messages to be passed       on the server to the channel name. That information is
back and forth while keeping the connection open . In this 10 transmitted to the server as a challenge for verification . The
way a two -way (bi-direction ) ongoing interaction can take         received challenge data is checked to see if it matches the
place between a process operating on the user ' s computing         channel name or corresponding unique number used to
device the server. By means of the persistent channel, the          transmit the visual object that the merchant scanned . If they
server can control the activity of the user computer device .      match up , there is a verification of a transaction . This
For each user computing device , there can be a distinct 15 exchange provides verification that the user 's device is
persistent connection .                                     present at the merchant location and that a transaction with
   In one embodiment, the persistent connection is estab -          the merchant should be paid for.
lished when the user requests an activation of a ticket. See           In yet another embodiment , the persistent connection
FIG . 14 . In other embodiments, it can be used if the system       provides a means for the server to control the actions of the
is used to verify payment of a purchase price . In either case , 20 process operating on the user 's computer device that is at the
the user computing device transmits a requestmessage to the         other end of the connection. In this embodiment, the server
server. For each user computing device, there can be a              can automatically transmit a command to the process on the
distinct persistent channel. Each persistent channel has a user' s computing device that automatically deletes the veri
label or channel name that can be used by the server to           fying visual object that has been transmitted to ensure that
address the channel. In the case of ticketing, when the ticket 25 it cannot be reused or copied .
is activated the data representing the validating visual object      In one embodiment, the persistent connection is used to
can be transmitted in real time from the server to the user automatically transmit visual information to the user ' s
computing device and immediately displayed on the device . mobile computing device and to cause that information to be
This provides an additional method of securing the visual          displayed on the screen of the device . The visual information
ticketing process . In this case , when the ticket is activated 30 can be the validating visual object or any other visual object
and the persistent channel is created , the label of the channel   that the server selects to transmit for display. In this embodi
is stored in the database in a data record associated with the     ment, the persistent connection can be used by the server to
user and the ticket . When the server transmits the validating      transmit other information to the user ' s device . In this
visual object for that ticket , it fetches from the database the    embodiment , the server transmits text, images , video or
label of the channel and then uses that label to route the 35 sound and in some cases in combination with other HTML
transmission of the validating visual object. The use of the data . In another embodiment, this material comprises adver
persistent channel causes the user computer device to imme-         tising that the server selects to display on the user ' s device .
diately and automatically act on the validating visual object.      The selection process can utilize the GPS feature described
In one embodiment, the receipt of the validating visual             above to determine the approximate location of the user 's
object causes the receiving process to immediately in 40 device and then based on that location , select advertising
response interpret the command and select and display the           appropriate to be transmitted to that device . In yet another
required visual pattern . In another embodiment, the process        embodiment, the server selects the advertising content by
receives a block of code that the process calls on to execute ,     determining predetermined features of the validated ticket or
and that code causes the visual pattern to be displayed . In yet    purchasing transaction and then making a selection on the
another embodiment, the process receives image or video 45 basis of those features . For example , a validation of a ticket
data and the process passes that data on to the user device         to a baseball game played by a team specified in the data
screen display functions for presentation on the user device       associated with the validated ticket may cause the selection
screen .                                                           of an offer to purchase a ticket for the next baseball game of
   In another embodiment, a validating visual object can be         the same team . In yet another embodiment, the character of
transmitted to the user ' s computing device to be automati - 50 the transaction being verified can be used to cause the
cally displayed on the screen without the user having to            selection of advertising or the transmission of data compris
input a command to cause the display . That visual object can       ing a discount offer related to the transaction .
be displayed by the user computing device . For additional            In this embodiment, the server receives from themerchant
security, the server can transmit to the user computing             the data that determines the persistent channel. The mer
device a visual object that contains the channel name or a 55 chant, by relying on the system for payment will also
unique number that the server can map to the channel name.    transmit transaction details , for example , an amount of
For clarity , this additional visual object is not necessarily     money and an identity of goods or services . When the
used for visual verification by ticket takers , as explained       channel name or unique number associated with the channel
above. This visual object can be used by other machinery to         is matched for verification , the server can transmit data
confirm the ticket purchase transaction or even other trans - 60 representing a confirmation display down to the user 's
actions not directly related to the purchase of the ticket . The    device using the persistent connection . This data is received
additional visual object can be in the form of a QR code ,         by the user computing device and then automatically ren
barcode or any other visual pobject that can be scanned , for      dered by the process at the other end of the channel
example at a point of sale system , and from that scanned           connection . In addition , the server can use the transaction
image, an embedded data payload extracted . In that visual 65 information to determine one or more advertisements or
object, data can be embedded that uniquely identifies the           discount offers to transmit to the user ' s computing device .
source of the scanned object. The channel name of the               The selection method can consist of one or more heuristics.
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In one example, the validation of the ticket for a baseball           user 's cloud account, a data file representing the ticket will
game can trigger the display of advertising for food or              be cached locally on the device during the duration that the
drinks. Likewise , a transaction for purchasing a cup of coffee      pass is active. For instance , if the rules set up via the back
can trigger an advertisement for purchasing a newspaper               office system allow a pass to be reactivated for display for
Mobile ticket or pass management may be maintained 5 30 minutes after initial activation , the pass will be cached
securely by implementing protocols that check for pass data           locally on the device for those 30 minutes . When that time
integrity and permit movement of passes between a user 's             expires, a status value associated with that pass will revert
device , their account on a server and to an alternative device .     to a value representing a use or expiration . If the pass is
These methods and systems are applicable to mobile tickets            stored on the device , that status value is maintained on the
or passes, whether using a visual validation display object or 10 device . If the pass is stored on the cloud , the device transmits
some other validation technique when they are used .                  a message to the server indicating the new status of the pass ,
  Offline Passes .                                                    and the server updates the data record associated with the
   In yet another embodiment, the mobile ticket is stored on      pass to indicate the new status of the pass . This new status
the user 's device . This is presented to the user as an option . is then usable if the pass is reused on a different device by
At the time of purchase , the user may specify by input into 15 the authenticated user.
a GUI, either on the device or through a webpage displayed              in another embodiment, the GUI presented to by the back
on their computer, whether any given mobile ticket (also             office server permits the user to change their mind about
referred to herein as a “ pass” ) that they own is to be stored      whether a purchased pass is stored on the user 's device or on
either “ On This Device” or “ In My Cloud Account.” (See              the server in their cloud account. (See FIG . 21). The user can
FIGS . 17 and 18 ). When the user stored the pass to the 20 input a selection in order to choose to save a pass currently
current device, this allows for the full lifecycle of the pass stored in their Cloud Account to their device , or they can
to occur with no data connection between the device and the           release a Pass currently stored on their device back to their
server operating the ticketing back - office . This means the         Cloud account - provided logical conditions are satisfied
customer can list the pass on the device display, use the pass        thatmaintain the integrity of the ticket usage accounting. In
on the device, re-use the pass , and watch the pass expire, all 25 this case , the locally stored usage is transmitted to the server
without the need for a network connection to the device . In       in order to update the pass data on the server to the most
this embodiment, an accounting of the usage of the pass on     recent use of the pass.
the device is maintained on the back office server by means      Bytemark Offline Pass Schema
of a synchronization protocol executed between the device      In order to effect an offline ticketing solution in a reliable
and the server when the next network or Internet connection 30 and secure manner, the following schema was devised . It
becomes available to the device . A combination of fraud -            consists of four main classes of data - Permanent Data ,
prevention features built into the software operating on the          Semi- Permanent Data , Temporary Data, and Disposable
device and fraud - detection features built into the back -office     Data .
server platform execute this process . In one example , the             Permanent Data
pass that has been stored on one device cannot be accessed 35 The only Permanent Data is static hardware -based device
from the user 's account on the server by another device identifier (eg. Vendor ID for iOSTM , Android ID for
without the first device " releasing” it to the user ' s Cloud AndroidTM ), and a hard - coded string in the software that is
Account .                                                      referred to as the Salt. These are used in specific sets of
   Cloud Account. In one embodiment, the back office server           functionality in the other two Data classes .
maintains an account associated with the user . The server ' s 40       Semi- Permanent Data
database can store in a data structure data representing a            The Semi-Permanent Data includes any data that is critical
ticket or pass and associate it with the user. When a customer        for account management, namely any user detail informa
elects to store a pass that is purchased in their Cloud               tion about the customer and any device - specific information .
Account, this means that the pass can be used from any                This class of data also includes a ticketing app software
device , provided that the user has                        45 installation identifier ( AII ), and is unique to the particular
authenticated themselves as the owner of the Pass by log -    install of the app on each specific device . It is critical to note
ging in from a device and retrieving an authentication token ,        that if a customer installs an app on 2 devices, the All on
and that the Pass not already in use on another device . While        each device will be distinct. Likewise , installing 2 instances
this embodiment introduces the convenience of allowing any of the app on the same device produces 2 distinct identifiers .
authenticated device to access a user 's purchased ticket, the 50 This Semi-Permanent Data is stored in a set of tables that is
limitation here is that a pass stored to the user 's Cloud        encrypted by the hardware - based identifier, and uniquely
Account can only be accessed by a device when there is                associated with the Salt data .
connectivity between the device and the back -office server .            Temporary Data
  Listing Tickets . When the user 's device has an online       The Temporary data is the data that is solely stored on the
connection , all tickets, whether stored on the device or on 55 device in order to later interact with the back office server
the user' s account in the cloud are displayed on the user 's         and synchronize data . It includes a list of cached uses for
device , for example as presented in FIG . 19 . Passes saved to       passes that were used on the device when there was no
another device are displayed with an indication that this is          network connection available . It also includes the Authen
the case . When the pass is an " unlimited use ” , the GUI tication Token that is stored by the local ticketing software
displays their expiration time, and other Passes are grouped 60 after a successful sign - in , the time of this sign -in , and the last
by label for easy access.                                             time the device was online and synced with the server. This
As mentioned above, when the device has no network               Temporary Data is stored in a set of tables that is encrypted
connectivity, the Cloud Account Passes will not be available     by the ticketing app , using the AII.
for use . However, Passes saved “ On This Device ” will be         Disposable Data
displayed , and will be available for use (FIG . 20 ) .       65 The Disposable Data is the data that is temporarily cached
   Using a Pass Effects Its Status. Regardless ofwhere a pass    on the device until the next online connection occurs . It is
is initially stored , whether on the user 's device or in the referred to as disposable because it can be completely
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recovered after deletion by simply regaining a network                 this would indicate that the original purchaser may have
connection . The purpose of this data class is to store any            maliciously distributed the ticket, or that their device was
pass , event, and visual validation display object data that is        hacked and the ticket was maliciously obtained for further
minimally necessary to maintain the desired ticketing func             re - distribution .
tionality on the device without a data connection . The 5 If such suspicious activity is detected , the user account is
Disposable Data is stored in a set of tables that is encrypted flagged for further investigation if necessary, for example ,
by the Authentication Token . This Disposable Data as a by setting a status bit in a data record associated with the
whole may optionally be set to expire after a set amount of            user to indicate a fraudulent transaction has occurred . When
time has passed with no network connection to the device .             this logical condition is established , any passes that were
For instance , if a user's device has not synchronized with the 10 previously locked to the device will no longer be available
server in within the expiration time, the software operating           on any device . That is , the user 's account data on the back
on the user ' s device erases Disposable Data . As a result , the      office server is set so that each purchased pass has a status
user has to log in again to sync with the server to obtain             bit indicating that it is unavailable for use for security
ticketing data . In embodiment, each element of the Dispos - reasons.
able Data is associated with its own expiration rule, which 15 In yet another embodiment, a user who has lost their
may be specified by the back office server. For instance , a           device can recover their purchased tickets by having these
pass can be set to expire 30 minutes after the first use . As          bits set by an authorized user of the back office system , for
another example , a pass can be set to end at the end of the           example by means of a customer service call. In this
month . These rules are periodically run against the dispos            situation, the authorized user can " unlock ” passes stored on
able data to ensure data integrity .                                20 a lost device . When Passes are unlocked from a device , the
   Data Integrity . Data integrity checking is to be sure that         device is flagged as disabled , and any future activity that
the pass data and the software managing that pass data on the          occurs on this device willbe noted as fraudulent. On the next
user ' s device has not been altered improperly . For example ,        synchronization with the back office server, the software
if the pass data or other data is unrecognized by the server           running on the device will erase the data associated with the
or is inconsistent with a separate locally generated key on 25 user ' s passes , including the Temporary and Disposable Data .
the device , there is an anomaly . When these anomalies are            Operating Environment:
detected the tickets and user account are locked down to stop            The system operates on one or more computers , typically
fraudulent activity . Behavioral Detection is focused on back          one or more file servers connected to the Internet. The
end detection of usage ofmobile ticketing and passes that do           system is typically comprised of a central server that is
not match up with a consumer ' s typical usage habits . For 30 connected by a data network to a user ' s computer. The
example , the system detect a pass that is normally activated          central server may be comprised of one or more computers
in the mornings going from Point A to Point B and then in              connected to one ormore mass storage devices. A website is
the evening from Point B to Point A . If the system later              a central server that is connected to the Internet. The typical
detects that the ticket is activated for Point A to Point B say        website has one or more files, referred to as web -pages, that
in the afternoon and there was a previous usage of a ticket 35 are transmitted to a user' s computer so that the user' s
from Point A to Point B without a return trip from Point B             computer displays an interface in dependence on the con
to Point A , it flags in the system that there is a behavioral        tents of the web -page file . The web - page file can contain
anomaly and that there might be fraud or an attempt to share          HTML or other data that is rendered by a program operating
an account amongst multiple users. This detection technique            on the user 's computer. That program , referred to as a
is particularly helpful for monthly passes because they are 40 browser, permits the user to actuate virtual buttons or
the most likely to attempt to have repeated or fraudulent              controls that are displayed by the browser and to input
usage and are typically used by commuters . Whenever the               alphanumeric data . The browser operating on the user 's
ticketing software operating on the user ' s device determines         computer then transmits values associated with the buttons
that the disposable data has been maliciously altered , the            or other controls and any input alphanumeric strings to the
session is cleared from the device , that is , the Temporary and 45 website . The website then processes these inputs , in some
Disposable Data is erased from the device . In one embodi-             cases transmitting back to the user 's computer additional
ment, the software operating on the user ' s device checks the         data that is displayed by the browser. The precise architec
data files representing the passes to see if a hash value for          ture of the central server does not limit the claimed inven
any of those files has changed or is invalid . In another              tion . In addition , the data network may operate with several
embodiment, the software checks to see if the file has been 50 levels, such that the user 's computer is connected through a
modified or stored with a time stamp that is later than the            fire wall to one server , which routes communications to
time that the pass was stored on the device. In yet another            another server that executes the disclosed methods. The
embodiment, the software checks for the condition where                precise details of the data network architecture does not limit
the AII is not properly decrypting pass data that is stored on         the claimed invention . Further, the user's computer may be
the device . Any of these conditions are examples where the 55 a laptop or desktop type ofpersonal computer. It can also be
data integrity test fails .                                            a cell phone, smart phone or other handheld device. The
   As a result , the user will be forced to log in to the server       precise form factor of the user' s computer does not limit the
again and authenticate themselves , which requires a network           claimed invention . In one embodiment, the user ' s computer
connection . At this point, the device will be able to syn -           is omitted , and instead a separate computing functionality
chronize with the server . The server can then determine if 60 provided that works with the central server . This may be
any fraudulent activity has taken place by inspection of the   housed in the central server or operatively connected to it . In
data transmitted by the device up to the server. Other data            this case , an operator can take a telephone call from a
integrity tests can include transmitting the AII to the server         customer and input into the computing system the custom
to determine whether the device is using the proper AII .              er ' s data in accordance with the disclosed method . Further,
Other behavioral anomaly detection can be used . For 65 the customer may receive from and transmit data to the
example , if the same pass data is being used for multiple central server by means of the Internet, whereby the cus
attempts to activate the same pass from different devices,             tomer accesses an account using an Internet web -browser
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and browser displays an interactive webpage operatively               with the invention include, but are not limited to , personal
connected to the central server . The central server transmits         computers , server computers , hand -held , laptop or mobile
and receives data in response to data and commands trans -             computer or communications devices such as cell phones
mitted from the browser in response to the customer 's                and PDA 's, multiprocessor systems, microprocessor -based
actuation of the browser user interface .                          5 systems, set top boxes, programmable consumer electronics ,
   A server may be a computer comprised of a central                  network PCs, minicomputers, mainframe computers , dis
processing unit with a mass storage device and a network               tributed computing environments that include any of the
connection. In addition a server can include multiple of such         above systems or devices, and the like.
computers connected together with a data network or other               Computer program logic implementing all or part of the
data transfer connection , or, multiple computers on a net - 10 functionality previously described herein may be embodied
work with network accessed storage , in a manner that                 in various forms, including, but in no way limited to , a
provides such functionality as a group . Practitioners of             source code form , a computer executable form , and various
ordinary skill will recognize that functions that are accom -         intermediate forms ( e . g ., forms generated by an assembler,
plished on one server may be partitioned and accomplished             compiler, linker, or locator.) Source code may include a
on multiple servers that are operatively connected by a 15 series of computer program instructions implemented in any
computer network by means of appropriate inter process                 of various programming languages ( e. g ., an object code , an
communication . In addition , the access of the website can be         assembly language, or a high -level language such as FOR
by means of an Internet browser accessing a secure or public T RAN , C , C + + , JAVA , or HTML ) for use with various
page or by means of a client program running on a local operating systems or operating environments. The source
computer that is connected over a computer network to the 20 code may define and use various data structures and com
server. A data message and data upload or download can be             munication messages. The source code may be in a com
delivered over the Internet using typical protocols, including        puter executable form (e.g., via an interpreter ), or the source
 TCP/IP, HTTP, SMTP, RPC , FTP or other kinds of data                 code may be converted (e.g., via a translator, assembler, or
communication protocols that permit processes running on               compiler ) into a computer executable form .
two remote computers to exchange information by means of 25              The invention may be described in the general context of
digital network communication . As a result a data message            computer - executable instructions, such as program modules,
can be a data packet transmitted from or received by a                being executed by a computer. Generally , program modules
computer containing a destination network address , a des-             include routines , programs, objects , components , data struc
tination process or application identifier, and data values that      tures , etc ., that perform particular tasks or implement par
can be parsed at the destination computer located at the 30 ticular abstract data types . The computer program and data
destination network address by the destination application in         may be fixed in any form ( e .g ., source code form , computer
order that the relevant data values are extracted and used by         executable form , or an intermediate form ) either perma
the destination application .                                         nently or transitorily in a tangible storage medium , such as
   It should be noted that the flow diagrams are used herein           a semiconductor memory device (e .g ., a RAM , ROM ,
to demonstrate various aspects of the invention , and should 35 PROM , EEPROM , or Flash - Programmable RAM ), a mag
not be construed to limit the present invention to any netic memory device ( e .g ., a diskette or fixed hard disk ), an
particular logic flow or logic implementation. The described           optical memory device ( e. g., a CD -ROM or DVD ), a PC
logic may be partitioned into different logic blocks ( e . g .,        card ( e .g ., PCMCIA card ), or other memory device . The
programs, modules, functions, or subroutines ) without                 computer program and data may be fixed in any form in a
changing the overall results or otherwise departing from the 40 signal that is transmittable to a computer using any of
true scope of the invention . Oftentimes , logic elements may   various communication technologies, including , but in no
be added , modified , omitted , performed in a different order, way limited to , analog technologies, digital technologies ,
or implemented using different logic constructs ( e . g ., logic  optical technologies, wireless technologies , networking
gates, looping primitives, conditional logic , and other logic technologies , and internetworking technologies . The com
constructs ) without changing the overall results or otherwise 45 puter program and data may be distributed in any form as a
departing from the true scope of the invention .                  removable storage medium with accompanying printed or
   The method described herein can be executed on a                    electronic documentation (e.g ., shrink wrapped software or
computer system , generally comprised of a central process             a magnetic tape ), preloaded with a computer system ( e. g ., on
ing unit (CPU ) that is operatively connected to a memory              system ROM or fixed disk ), or distributed from a server or
device, data input and output circuitry (10 ) and computer 50 electronic bulletin board over the communication system
data network communication circuitry . Computer code                  ( e .g ., the Internet or World Wide Web .) It is appreciated that
executed by the CPU can take data received by the data                any of the software components of the present invention
communication circuitry and store it in the memory device .           may, if desired , be implemented in ROM ( read - only
In addition , the CPU can take data from the I/O circuitry and memory ) form . The software components may , generally, be
store it in the memory device . Further, the CPU can take data 55 implemented in hardware , if desired , using conventional
from a memory device and output it through the IO circuitry techniques.
or the data communication circuitry. The data stored in             The invention may also be practiced in distributed com
memory may be further recalled from the memory device,                 puting environments where tasks are performed by remote
further processed or modified by the CPU in the manner                processing devices that are linked through a communica
described herein and restored in the samememory device or 60 tions network . In a distributed computing environment,
a differentmemory device operatively connected to the CPU             program modules may be located in both local and remote
including by means of the data network circuitry . The                 computer storage media including memory storage devices .
memory device can be any kind of data storage circuit or              Practitioners of ordinary skill will recognize that the inven
magnetic storage or optical device , including a hard disk ,          tion may be executed on one or more computer processors
optical disk or solid state memory                                 65 that are linked using a data network , including , for example ,
  Examples of well known computing systems, environ -                 the Internet. In another embodiment, different steps of the
ments , and / or configurations that may be suitable for use           process can be executed by one or more computers and
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storage devices geographically separated by connected by a                  block the user account in an event of the received data
data network in a manner so that they operate together to                      is mismatched with the transmitted data and detected
execute the process steps . In one embodiment, a user 's                      as a fraudulent activity ; and
computer can run an application that causes the user 's                     determine the occurrence of the fraudulent activity
computer to transmit a stream of one or more data packets 5                    associated with the user account in connection with
across a data network to a second computer, referred to here                   the mobile ticketing system and store in a data record
as a server. The server, in turn , may be connected to one or                  associated with the user account a data value indi
more mass data storage devices where the database is stored .                 cating the fraudulent activity and in dependence on
 The server can execute a program that receives the trans                     the data value indicating fraudulent activity , the code
mitted packet and interpret the transmitted data packets in 10                 in the ticket payload makes the pass , including the
order to extract database query information . The server can                    validation visual object, no longer available on the
then execute the remaining steps of the invention by means                     device .
of accessing the mass storage devices to derive the desired               2 . The system of claim 1, where the server system is
result of the query. Alternatively , the server can transmit the       further adapted to detect the fraudulent activity by detecting
query information to another computer that is connected to 15 behavioral anomalies associated with the user ' s account.
the mass storage devices, and that computer can execute the               3 . The system of claim 2 , where the behavioral anomaly
invention to derive the desired result. The result can then be         is the condition of one or more attempts to improperly use
transmitted back to the user ' s computer by means of another          a pass originally associated with the user account .
stream of one or more data packets appropriately addressed                4 . The system of claim 1 , where the device is further
to the user' s computer .                                           20 adapted to check the integrity of the pass data stored on the
   The described embodiments of the invention are intended             device .
to be exemplary and numerous variations and modifications                 5 . The system of claim 4 , where the integrity check is to
will be apparent to those skilled in the art. All such variations      determine whether there is a mismatch of a hash value.
and modifications are intended to be within the scope of the              6 . The system of claim 4 , where the integrity check is to
present invention as defined in the appended claims. 25 determine whether a time stamp associated with stored pass
Although the present invention has been described and                  data is inconsistent with other storage time stamp data .
illustrated in detail, it is to be clearly understood that the            7 . The system of claim 1, where the server system is
same is by way of illustration and example only, and is not            further adapted to :
to be taken by way of limitation . It is appreciated that                 receive a command to cause deactivation of a pass stored
various features of the invention which are , for clarity , 30              on the device ,
described in the context of separate embodiments may also                 receive from the device usage data associated with the
be provided in combination in a single embodiment. Con                      deactivated pass ,
versely, various features of the invention which are , for                update, using the received usage data, the pass usage data
brevity , described in the context of a single embodimentmay                comprising a data record stored on the server system
also be provided separately or in any suitable combination . 35             associated with the deactivated pass and in dependence
It is appreciated that the particular embodiment described in               on the updated usage data , and
the specification is intended only to provide an extremely                transmit to a new device pass data for the same pass .
detailed disclosure of the present invention and is not                   8 . The system of claim 1 , where the server system is
intended to be limiting .                                      further adapted to transmit to the device data representing
  Modifications of the above disclosed apparatus and meth - 40 purchased passes associated with the user account and the
ods which fall within the scope of the invention will be device is further adapted to combine the received data with
readily apparent to those of ordinary skill in the art. Accord -       pass data stored on the device in order to output on a
ingly , while the present invention has been disclosed in              graphical user interface operated by the device a list of all
connection with exemplary embodiments thereof, it should               available passes.
be understood that other embodiments may fall within the 45               9 . The system of claim 1 , where the device is further
spirit and scope of the invention, as defined by the following         adapted to receive from the server system an expiration time
claims.                                                                value for an activated pass and , deactivate the pass when the
                                                                       device detects the condition that the time passed since
   What is claimed is:                                                 activating the pass for use equals or exceeds the time value .
   1 . A mobile ticketing system for detecting fraudulent 50 10 . The system of claim 9, where for a plurality of passes
activity of tickets using data integrity , comprising :       stored on the device , each expiration time is unique .
   a mobile device in communication with a server;               11 . The system of claim 1, where the device is further
   a server adapted to receive authentication data for a user adapted to detect the condition that the device has not
      account from the mobile device via a data network , and connected to the server system for a predetermined period of
     transmit data in the form of a ticket payload that 55 time and in dependence on such detection , erase the data
     contains code to the mobile device embodying a pass ,             associated with at least one pass stored on the device .
     wherein the pass includes a validation visual object that            12 . The system of claim 1 , where the detection of fraudu
     a ticket taker can rely on as verification of the pass            lent activity occurs as the result of receiving a data message
     without using a scanning device and wherein the vali -            from the device representing the detection of fraudulent
     dation visual object is not accessible until a time 60 activity on the device .
     selected to be close to the point in time where the ticket           13 . The system of claim 12 , where the device is adapted
    has to be presented ;                                              to erase data stored on the device associated with the passes
  wherein the server is further configured to :                        stored on the device when the condition of fraudulent
    receive the pass with the data from the mobile device              activity has been detected.
        and determine if there is any mismatch in the 65 14 . The system of claim 1 , where the device is adapted to
        received data of the pass by comparing the received erase data stored on the device associated with the passes
          data with the data transmitted ;                             stored on the device when the condition of fraudulent
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activity has been detected by the device , and to transmit a
data message to the server system representing the detection
of fraudulent activity on the device .
   15 . The system of claim 1 , where the server system is
adapted to receive a command to set a status bit associated 5
with the user account to indicate fraudulent activity and the
device is adapted to receive a data message representing the
condition that the fraudulent activity bit is set, and disable
the pass functionality on the device .
   16 . The system of claim 15 , where the device is further 10
adapted to disable the pass functionality by erasing the pass
data stored on the device .
                       *   *   *    *   *
